                             Case: 21-3031       Document: 16-1         Filed: 09/30/2021     Page: 1
    RECEIVED
       9/30/2021
DEBORAH S. HUNT, Clerk                     UNITED STATES COURT OF APPEALS
                                                F'OR THE SIXTH CIRCUIT

           Case Number:           21-3031
           Case Name:           Michelle Rose vs Universitt'Hospitals Physicians Services
           Name: Michelle Rose

           Address:1690 Lake Crest Drive
           City: Roaminq Shore                                State:Ohio       ZipCode:M484


                                                 PRO SE APPELLANT'S BRIEF

           Directions: Answer the following questions about the appeal to the best of your ability.            Use
           additional sheets ofpaper, ifnecessary, not to exceed 30 pages. Please print or write legibly, or type
           your answers double-spaced. You need not $mit your brief solely to this forrn, but you should be
           certain that the document you file contains answers to the questions below. The Court prefers short
           and direct statements.

           Within the date specified in the briefing letter, you should return one sigaed original brief to:

                                       United States Court of Appeals For The Sixth Circuit
                                                540 Potter Stewart U.S. Courthouse
                                                       100 East Fifth Street
                                                  Cincinnati,Ohio 452A24988


           1. Did the District Court incorrectly decide the facts? |7lVes                      [] *o
                    If   so, what facts?
                    Harassment claim Doc#42 Page lD #768.




           2.       Do you think the District Court applied the wrong   law?     n y".              MNo
                    If   so, what law do you want applied?

                    I am not stating that the court applied the wrong law. However, I am claiming that the court
                    made a   mistake  on a few areas of my  claims. And  now that I have been on PACER and
                    seen the actual documents,   there  are many that were not filed that I had sent and the files
                    had many exhibits out of order, content and or missing information in support of my claims.
                    I also did not see anything documented at all in the motions regarding allthe recorded
                    phone calls that were sent in support of my claim.




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J.   Do yo-u feel that tllere are any others reasons why the District Court's judgment was wrong?
         [/1v",are:ffi-ey?
     If s6'Jilhat
                  nNo
     As noted above. The court was thinking that I had filed a WBC case which leads me to
     believe, the judge may or may not have seen and or was given the proper documents. My
     case was for Unemployment and UHPS and not a Workefs Compensation Claim.



4.   What specific issues do you wish to raise on appeal?

     lwould like the correct supporting documents to be seen, recorded phone calls to be heard
     and the conect timeline of events to be in the proper order as they happened which will
     absolutely show and support my claims. They correct dates of events in the order that they
     happened will show and prove how lwas being singled out, harassed, mentally and
     emotionally suffering under the extreme circumstances I was facing and dealing with on a
     daily basis. I would also like the court to see how I was denied all of my discovery request
     in order to support my case. I would like the court to read and hear supporting facts on
     how lwas told I mutd not have access to things in my file and emails used against me on
     my termination. lwould like the courts to see in writing and by recorded phone calls that I
     was being offered things only lF I would be willing to sign a release of liability for UH. The
     court feels that being given health @verage for an extended period of time was a gift and
     not a contract. lf it is in writing and was also verbal and then UH did not follow through with
     that, is a breech of contract. I was recovering from a major knee surgery 1112712O17 and
     was told in writing by my surgeon on 1212912017 visit that I needed to follow up with him in
     3 weeks and needed no less than 7 more weeks of physical therapy. That never happened


5.   What action do you want the Court of Appeals to take in this case?

     lwould like the courts to see the actualfacts supporting my case. The actualtimeline of
     events as they occured and see how policy and procedures were not followed in my case.




I certifr that a copy of this brief was sent to opposing counsel via U.S. Mail on the 29 day of
                  September.2U2l


                                              Signature (Notary not required)



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